Case 9:22-cv-81294-AMC Document 137 Entered on FLSD Docket 10/05/2022 Page 1 of 2



                                                          U.S. Department of Justice

                                                          National Security Division


  Counterintelligence and Export Control Section          Washington, D.C. 20530


                                                          October 5, 2022

  By ECF and Courtesy Copy

  Judge Raymond J. Dearie
  United States District Court
   Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11202

  Re:       Donald J. Trump v. United States of America, Case No. 22-81294-CIV-CANNON –
            Government Update on Selection and Contract with Document-Review Vendors

  Dear Judge Dearie:

  Consistent with Judge Cannon’s order (ECF 125, at 3), the parties entered contracts with third-
  party vendors to scan, process, host, and provide a review platform for the Seized Materials.

  Thank you for your consideration.

                                                   Respectfully submitted,


                                                   JUAN ANTONIO GONZALEZ
                                                   UNITED STATES ATTORNEY

                                                   MATTHEW G. OLSEN
                                                   Assistant Attorney General

                                                   By:    /s/
                                                   JAY I. BRATT
                                                    Chief
                                                   JULIE EDELSTEIN
                                                    Deputy Chief
                                                   STEPHEN MARZEN
                                                    Trial Attorney
                                                   Counterintelligence and Export Control Section
                                                   National Security Division
                                                   Department of Justice


                                                      1
Case 9:22-cv-81294-AMC Document 137 Entered on FLSD Docket 10/05/2022 Page 2 of 2

                                             2

                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 5, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.




                                           /s/    Julie A. Edelstein
                                           Julie A. Edelstein
                                           Deputy Chief
                                           Counterintelligence and Export Control Section
                                           National Security Division
                                           United States Department of Justice
                                           950 Pennsylvania Avenue, N.W.
                                           Washington, DC 20530
                                           Special Bar # A5502949
                                           Tel.: +1.202.233.0986
                                           Email: julie.a.edelstein@usdoj.gov
